





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS&nbsp;PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
The State, Respondent,
v.
Larry D. Sampson Appellant.
      
    
  


Appeal From Charleston County
&nbsp;A. Victor Rawl, Circuit Court Judge

Unpublished Opinion No. 2006-UP-011
Submitted January 3, 2006  Filed January 5, 2006&nbsp;&nbsp;&nbsp;

APPEAL DISMISSED


  
    
      
Assistant Appellate Defender Robert M. Dudek, Office of Appellate Defense, of Columbia, for Appellant.
Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all of Columbia; and Solicitor Ralph E. Hoisington, of Charleston, for Respondent.
      
    
  

PER CURIAM:&nbsp; Larry Sampson appeals his guilty plea for voluntary manslaughter.&nbsp; He maintains his guilty plea failed to conform with the mandates set forth in Boykin v. Alabama because the trial judge failed to adequately inform him of the constitutional rights he waived by entering a guilty plea.&nbsp; 395 U.S. 238 (1969).&nbsp; After a thorough review of the record and counsels brief pursuant to Anders v. California, 386 U.S. 738 (1967), and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss Sampsons appeal and grant counsels motion to be relieved. 
APPEAL DISMISSED.[1]
GOOLSBY, ANDERSON, and SHORT, JJ., concur.

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

